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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                                     )
            v.                       ) Criminal No. 12-0138-01 (ESH)
                                     )
JACOB RAFI,                         )
                                     )
                  Defendant.        )
____________________________________)

                                             ORDER

       In a hearing before Magistrate Judge Kay on August 3, 2012, defendant Jacob Rafi

entered a plea of guilty. On August 6, 2012, the magistrate judge issued a Report and

Recommendation advising the Court to accept defendant=s plea. The Court has received no

objection to the Report and Recommendation. See Local Crim. R. 59.2(b) (AAny party may file

for consideration by the district judge written objections to the magistrate judge=s proposed

findings and recommendations . . . within fourteen (14) days after being served with a copy

thereof.@). Accordingly, the Court hereby adopts the recommendation of the magistrate judge

and accepts defendant’s guilty plea.

       SO ORDERED.

                                                                         /s/
                                                             ELLEN SEGAL HUVELLE
                                                             United States District Judge

Date: August 21, 2012
